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                                                                                                              MK       / 35

Fill in this information to identify the case :

Debtor 1:            DOMINIC ALLEN

Debtor 2:            TRINIDY ALLEN
(Spouse, If fiing)


United States Bankruptcy Court for the Eastern and Western Districts of Arkansas

Case number: 4:16-bk-14326 J



FORM 4100N
NOTICE OF FINAL CURE PAYMENT                                                                                       10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default
in the claim below has been paid in full and the debtor (s) have completed all payments under the plan.
  Part 1:        Mortgage Information

   Name of Creditor: ARVEST BANK                                                    Court Claim Number: 4

   Account Number: 5042                                                             Trustee's Claim Number: 1

   Property Address:        190 Skunk Hollow Rd
                            Conway, AR 72032-9010


  Part 2:       Cure Amount

Total cure disbursements made by the trustee:                                                         Amount
a. Allowed prepretition arrearage:                                                            (a)          $ 69.63

b. Prepetition arrearage paid by the trustee:                                                 (b)             $ 69.63

c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy            (c)              $ 0.00
Rule 3002.1(c):
d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy            (d)              $ 0.00
Rule 3002.1(c) and paid by trustee:
e. Allowed postpetition arrearage:                                                            (e)              $ 0.00

f. Allowed postpetition arrearage paid by the trustee:                                    +   (f)              $ 0.00

g. Total. Add lines b,d, and f.                                                               (g)           $ 69.63


  Part 3:      Postpetition Mortgage Payment


Mortgage is paid through the trustee.

Current monthly mortgage payment:                                                                         $1,463.47

The next postpetition payment is due on:          03/01/2022



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                                                                                                                     MK      / 35


 Debtor 1:    DOMINIC ALLEN                                                         Case number:   4:16-bk-14326 J



   Part 4:       A Response is Required By Bankruptcy Rule 3002.1 (g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor( s), their counsel, and the trustee, Jack
 W Gooding, within 21 days after service of this notice, a statement indicating whether the creditor agrees that the
 debtor(s) have paid in full the amount required to cure the default and stating whether the debtor (s) have (i) paid all
 outstanding postpetition fees, costs, and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy
 Code, are current on all postpetition payments as of the date of this response. Failure to file and serve the statement
 may subject the creditor to further action of the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent
 to the creditor. Payment history may be broken down into pre -petition; ongoing post-petition payments and
 supplemental post-petition payments.

               /s/ Jack W Gooding                                 Date: 02/28/2022
             Jack W Gooding
             Standing Chapter 13 Trustee
             P O Box 8202
             Little Rock Ar 72221
                                                                Email:       info@ark13.com
             (501) 537-4400




                                             CERTIFICATE OF SERVICE

    I, Jack W Gooding, do hereby certify that a copy of the foregoing Notice of Final Cure Payment was served on the
debtor's attorney through Notice of Electronic Filing (ECF) and to other parties listed below by ordinary U.S. Mail on
this date, February 28, 2022.

                                                                           /s/ Jack W Gooding
                                                                           Jack W Gooding
                                                                           Standing Chapter 13 Trustee
                                                                           P O Box 8202
                                                                           Little Rock Ar 72221
                                                                           (501) 537-4400




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                                                                               MK      / 35


DOMINIC ALLEN
TRINIDY ALLEN
190 Skunk Hollow Rd
Conway, AR 72032-9010

MATTHEW D MENTGEN (ACH)
Electronically by ECF

ARVEST BANK
P O BOX 399 (BANKRUPTCY ACCT)
LOWELL, AR 72745




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